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                            UNITED STATESDISTRICTCOURTFOR THE
                                 SO UTH ERN D ISTRICT OF FLOIU D A
                                         M IA M I DIVISION
                                  CA SE NO .23-22812-CV-W 1LLIAM S

    KAIQUAN HUANG,
     Plaintiff,                                                         FILED BY CG         Dc.
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     v.                                                                      ALs t
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           PLA INTIFF'S,SEM ,ED EX PAR TE M O TION FOR ENTRY O F TEM PO RARY
                        RESTRM NING ORDER,PRELIM INARY INJUNCTION,
                         Ae    O RDER RESTM ININ G TR AN SFER O F A SSETS

                Plaintiff,KAIQUAN HUANG,(hereinafterrefen'ed to as çtplaintiff'),by and tlzrough
     undersignedcounseland pursuantto 35 U.S.C.jj 283,284 Fed.R.Civ.P.65,and 28U.S.C jj
     1498and1651(a),respectfullymovesonanFxfkr/cbasisforentryoftemporaryrestrainingorder,
     includingpreliminary injunction andan orderrestrainingtransferofassets(çtMotion forTRO'')
     againstDefendants,theIndividuals,Partnerships,andUnincorporatedAssociations(collectively,
     the çr efendants'') identified on Schedule IW'' attached hereto.ln supportthereof,Plaintiff
     respectfully subm itsthe follow ing M em orandum ofLaw .


            1                          M EM O M ND UM OF LAW

      1.        IN TRO DU CTION

                Plaintiff is the ow ner of a United States Design Patent, No.U S D 958,1345,for an

     omamentaldesignofamobilephonestandforuseinavehicle(hereinaftertdplaintiff'sPatent''or
     6:134 Patent''),which Plaintiffusesformanufacmring,advertising,marketing,offeringforsale
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    and/or soliciting the sale of retail goods,specifically m obile phone stands for use in a vehicle.
                                                        l
    Plaintiffhasfiled thispatentinfringem entlaw suitggainstD efendants,ase-com m erce sellersthat

    m atmfacm re,distribute,m arket,solicit,advertise,offerfor sale and/or display contentinfringing

     on Plaintiffs registered patentthrough various e-com m erce platform s,including butnotlim ited

    to;Amazon,AliExpressandothers.SeeP1.'sAm.Co
                                              impl.,Schedule$W ''(ECFNo.7).Everytime
    D efendantsofferto selland/orsellaproductusingPlaintiff'sPatentthere isadirectloss,forw hich

    m onetary dam ages cannotadequately com pensatebecause m onetary dam ages failto addressthe

     loss of control over Plaintiff's intellecm al property and goodw ill.See D eclaration of Kaiquan

    Huang,August17,2023at!! 16-17(ssl-
                                     luangDecl.'')(ECFNo.8),attachedhereto.
            The Patent A ct allow s Plaintiff to recover the total illegal profits gained through

    Defendants'manufacture,offerforsaleand/orsalesofinfringing goods. See35U.S.C.j289.
    To preserve thatdisgorgem entrem edy,Plaintiffseeks an ex parte order restraining Defendants'

     assets including flmds specifcally trmzsm itted through a1lpossible online m arketplace paym ent

    providers,including butnotlim ited to AliExpress,Am azon,Am azon Pay,A lipay,W alm art,Tem u,

     shein,Paypal,platforms(collectively referred to asStfinancialentities'). Plaintiffseeksthis
    rem edy becauseasa resultofD efendantsflooding the e-com m ercem arketplace withunauthorized

    reproductions and derivatives using Plaintiff's Patent,it is highly probable that Plaintiff will

     continue to sufferirreparable harm unlessD efendants'infringing activity isstopped by thisCourt.

    SeeHuangDecl.at!! 16-20(ECFNo.8).

     II.     STA TEM EN T OF FA CTS

                   PlaintifrsPatent

            Plaintiffownsone(1)UnitedStatesDesignPatent,No.USD 958,1345,foranornamental
     design ofa mobile phone stand foruse in a vehicle t
                                                       'hereinafter çtplaintiffs Patent''or <:134
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    Patent'').Plaintiff'sPatenthasbeenregisteredwithitheUnitedStatesPatentandTrademarkOffice
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     ('ûUSPTO'')andisprotectedfrom infringementunàerfederalpatentlaw.SeeP1.'sAm.Compl.at
    Ex.No.1(ECFNo.7). Plaintiffdemonstratedheistheownerofthe134Patentbysubmitting
     copiesoftheU.S.DesignPatent:1)No.USD 958,1345,Date:July 19,2022.k%cP1.'sAm.Compl.
     atEx.1(ECFNo.7-1);seealsoHuangDecl.at!4(ECFNo.8).
               Plaintiffisthe ow nerof a1llights,title and interestto the 134 Patent,which hasbeen used

     in connection w ith the m anufacturing,advertising,offerforsale and/orsale ofPlaintiff's m obile

     standforuseinavehicle.Id.at!6(ECFNo.8).Plaintiffadvertises,offersforsaleandsellsthe
    m obile stand foruse in avehicle depicted in the 134 Patentin authorized e-com m erce storessuch
                                                        I
    asAmazon,Aliexpress,W almart.1d.(ECFNo.8).Plaintiffhasexpendedtime,moneyandother
    resourcesdeveloping,advertisingalldothezwisepromotingthe134Patent.Id.at!7(ECFNo.8).
    Plaintiffsuflkrsirreparableinjuryanytimeunauthorizedsellers,such'asDefendants,selloroffer
    to sellgoodsusing identicalorsubstantially sim ilarcopiesor derivativesofthe 134 Patent.f#.at

    !20(ECFNo.8).
               Furtherm ore,Plaintiffhas expended a significantam ountofresourcesin connection with

    patentenforcem entefforts,including legalfeesand investigative feesto protectitsPatentagainst

    colmterfeitactions.SeeP1.'sAm.Compl.atEx.No.1(ECFNo.7-1).
               B.     D efendants'PatentInfringem ent

               W ithout Plaintiff's permission or license, Defendants are m anufacturing, prom oting,

    selling,reproducing,offering forsale,and/ordistributing goodsusing Plaintiff's134 Patentwithin
           2

    thisD istrictthrough variousInternetbased e-com m erce stores and fally interactive comm ercial

    Internetwebsitesoperatingundertheirselleridentification names(($Sel1erIDs''),assetforth in
    ScheduleA oftheAmendedComplaint.SeePl.'sAm.Compl.atEx.No.2SlscheduleA''(ECF
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     No.10-2);seealsoHuangDecl.atjg!10-15(ECF,8).
            A s partof its ongoing investigation regafding the sale of infringing products utilizing

     Plaintiff's 134 Patent,D efendants'lnternetbased e-comm erce storesw ere accessed undertheir

     respective Seller IDs through the Am azon,AliExpress and W alm artplatform s, as identified on

     ScheduleA. 1d. W eb page captures and screenshotsweretaken ofthe Defendants'infringing

     products, as they appeared on D efendants' online e-com m erce stores, and detenuined that

     products are being offered for sale using unauthorized and infringing copies ofthe 134 Patent

     and ordersw ere initiated via each D efendants'Sellerm s. 1d;see also D eclaration ofHum berto

     Rubio,August22,2023at!(5(ttRubioTRO Decl.'')(ECFNo.9),attachedheretoandECFNo.7.
     ln supportofthisM otion forTRO,Plaintiffhas obtained and provided the courtw ith evidence,

     cleady dem onstrating thatD efendantsareengaged in theadvertising, offering forsale,and/orsale

     of infringing versions of Plaintiffs 134 Patent and that D efendants accom plish their sales of

     infringing goods via the Internetthrough their e-com m erce stores. seeHuangDecl.at!! 10-15

     (ECFNo.8);seealsoRubioTRO Decl.at!115(ECFNo.9)andScheduleB (ECFNo.12-1).
           A simple com parison ofD efendants'infringing goodsw ith Plaintiff's 134 Patent and any

     laym an can observeD efendants'blatantinfringem entofPlaintiff'sexclusive patentasthe im ages

     thatdepictthe design are virtually exactduplicates or substantially sim ilar im ages to Plaintiff s

     134Patent.SeePlaintiff's134Patent(P1.'sAm.Compl.atBx.1(ECFNO.7-1)againstscreenshots
    ofDefendants'productsontheire-commercestores.SeeScheduleB (ECFNo.12-1),RubioTRO
    Decl.at!(5(ECFNo.9)andHuangDecl.atI(!10-15(ECF No.8).
          D efendants obtain their sales proceeds, from the e-com m erce platform s,by using m oney

    transfer,and/orretention processing servicesw ith Paypal, 111c.,and/orhaving theirsalesprocessed

    using an aggregate escrow accountin order to receive m onies from the sale ofinfringing goods.
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     seeRubioTRO Decl.at!!7-9(ECFNo.9).Theej
                                           1crow accotmtsonthesee-commerceplatforms
                                                         t
     are held in various financial instim tions,including A liExpress,Am azon,Am azon Pay,Alipay,

     Paypal,Tem u,shein am ong others.1d.

             Consequently,Plaintiff is endlzring continuous dam ages to its Patent atthe hands of the

     Defendants herein, who unlawfully reproduce goods using Plaintiff's 134 Patent to sell for

     substantialprofits.ln addition,thegoodw illassociated with Plaintiff's 134 Patentisbeing harm ed

     and if D efendants' w illful and intentional infringing activities are not preliminarily and

     permanentlyenjoinedbythisCourt,Plaintiffandtheconsumingpublicwillcontinuetobeharmed.
     SeeHuangDecl.at!!16-20(ECFNo.8);seealsoP1.'sAm.Compl.at!29(ECFNo.7).
      111.     ARG UM ENT

              A. TemporaryRestrainingOrderandPreliminarylnjunctionStandard
              The Suprem e Courtheld thatin patent disputes,SKthe decision whether to grantor deny

     injunctivereliefrestswithintheequitablediscretionofthedistrictcourts,andthatsuchdiscretion
     must be exercised consistentwith traditionalprinciples of equity''ebay Inc.v.M ercExchange,

    L.L.C.,547U.S.388,394 (2006).Furthermore,thePatentAct,providesthatcourtsmay grant
     injunctivereliefon such termsasitmaydeem reasonabletopreventorrestraininfringement.f#.
     at392(quoting35U.S.C.j283).ThePatentActalsostatesthat''patentsshallhavetheattributes
     ofpersonalproperty,''including ''therightto exclude othersfrom m aking,using,offering forsale,

     orsellingtheinvention''f#.(quoting35U.S.C.j261).
             Inapatentcase,inordertoobtainapreliminaryinjunction,apartymustdemonstrate;(1)
     a substantiallikelihood ofthe patentee's success on the merits,(2) irreparable harm ifthe
     injunctionwerenotgranted,(3)thebalanceofhardshipsbetweentheparties,and(4)thatgranting
     theinjunctionwouldnotdisservethepublicinterest.Pass(â Seymour,Inc.v.Hubbell,Inc,532


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     F.Supp.2d418,427 (N.D.N.       'Suntrusti
                            Y .2007),        Bankv.HoughtonMff//jrlCompany, 268F.3d
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     1257,1265(11th Cir.2001),
                             .seealsoLeviStrauss(i Co.v.SunriseInt'1Trading Inc.,51F.3d
     982,985(11thCir.1995)(affirmingentryofpreliminaryinjtmctionandfreezingofassetsrelying
     onaffidavitsandhearsaymaterials).

            Plaintiffisentitled to apreliminary injunctionbased on itspatentinfringementclaim
     because it can show a1lfour factors.See Tinnus Enters.,LLC v.Telebrands Corp., 846 F.3d

     1190,1202(Fed.Cir.2017).
            B.     Likelihood ofSuccesson the M erits

            tdEach issuedpatentcarrieswith itapresumptionofvaliditytmder35U.S.C.j282.':1d.at
     1205. Presllm ption ofvalidity canied by each issyed patentis sufficientto establish a likelihood

     ofsuccessonthevalidityissue.f#.(quotingTitanTireCorp.v.CaseNew Holland,Inc.,566F.
     3d 1372,1377(Fed.Cir.2009).lnthismatter,Plaintiffdemonstrateditistheownerofthe 134
     Patentregistered with theU SPTO :U .S.Design PatentN o.U S D 955,6645,Date:June 21,2022.

     SeeP1.'sAm.Compl.atEx.1(ECFNo.10-1),
                                        'seealsoHuangDecl.at!4 (ECFNo.11).
           D esign patentinfringem entrequires a show ing thattheaccused design issubstantially the

     sam e as the claim ed design.The criterion is deception of the ordinary observer,such that one

     design w ould be confused w ith the other. Egyptian Goddess,Inc.v.Swisa,Inc,543 F.3d 665,

     679(Fed.Cir.2008).Underthistest,thecentralinquiryiswhetheranSsordinaryobserver,''who
     is fam iliar with the prior art,w ould find the overallappearance of the accused productto be

     tçsubstyntially the sam e''as the overallappearance of the patented design.f#.at677'
                                                                                        ,see also

    AminiInnovation Corp.v.Anthony Cal.,Inc.,439 F .3d 1365,1372 (Fed.Cir.2006).An
     infringing productneed notbean exactcopy ofthepatented design,and D efendantscamzotescape

     infringem ent by introducing m inor variations into an otherwise copycat product.Egyptian


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         Goddess,543 F.3d at670.                           '
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                D esign patents are typically claimed as show n in draw ings,and claim construction m ust

         beadaptedtoapictorialsetting.Crocs,Inc.v.Int'lTradeComm 'n,598F.3d 1294,1303 (Fed.
         Cir. 2010),
                   .seealso ContessaFoodProds.,Inc.v.Conagra,Inc,282F.3d 1370,1377 (Fed.
         Cir.2002).lnthiscase,nodetailedverbaldescriptionofthefiguresinthe134Patentisnecessary
        because each (dillustration in the draw ing view s isitsown bestdescription.''Crocs,Inc.at1303.

         Accordingly,the claim ofPlaintiff's 134 patentshould be construed only asan ornam entaldesign

         foram obile phone stand foruse in a vehicle as show n in PlaintifrsPatentSee P1.'sAm .Com pl.

         atEx.1(ECFNo.7).                                   .
                In thism atter,Plaintiffassertsa sim plecomparison ofD efendants'infringing goods,w hich

         are being offered for sale and/or sold in the U nited States,with Plaintiff's 134 Patent and any

         çtordinary observer''can perceive D efendants'blatantinfringem entofPlaintiff'sexclusive patent

         as the designs are virtually duplicates or substantially sim ilar design and im ages to PlaintiY s

        Patent.SeeECF N o.7-1,againstscreenshotsofD efendants'productson theire-com m erce stores

         ScheduleB (ECF No.9-1),RubioTRO Decl.at!(5 (ECF No.9)and HuangDecl.at!! 10-15
         (ECF No.8).ln accordancewith thePatentAct,thescreenshotimagesdemonstrateDefendants'
         ongoing tm authorized prom otion,offerforsaleand/orsale ofgoodsbearing Plaintiff's 134 Patent

        in directviolation of Plaintiffs federalrightsto exclude others from m aking,using,offering for

         sale,orsellingthe134Patent.35U.S.C.jj217& 261,
                                                      .seealsoFtf/kn.
                                                                    '
                                                                    p(NJ),LLCv.Dongping,
        No. 10-cv-61214, 2010 W L 4450451, (S.D. Fla. Oct. 29, 2010) (finding unopposed
        declarations supporting intellectualproperty ownership and exactduplicates ofasseted designs

        weresufficienttoestablishliabilityforinfringement).
                A s the side-by-side com parison below reveals, Defendants have m isappropriated


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    Case 1:23-cv-22812-KMW Document 11 Entered on FLSD Docket 08/24/2023 Page 10 of 19



                                                            !
               .   A patentholderpossessestttherightto exclùdeothersfrom usinghisproperty.''ebaylnc,
                                                            !

         547U.S.at392.(citingFoxFilm Corp.v.Doyal,286U.S.123(1932)).Defendants'infringing
         conductdeprivesPlaintiffofcontroloverits 134 Patentand ofitsexqlusivepatentrightscausing

         irreparableharm.See eBay,Inc.at395(holdingviolationofpatentowner's&trighttoexclude''
         rendersmonetaryremediesinadequateinawiderangeofcircumstances).
                   Itisw ell-settled that,becausetheprincipalvalue ofapatentisitsstatm ory rightto exclude,
,        thenatureofthe patentgrantweighsagainstholding thatm onetary dam agesw illalw ays suffice to

         makethepatenteewhole.HybritechInc.v.AbbottLaboratories,849F.2d1446,1456(Fed.Cir.
         1988). Thepatentstatm eprovidesinjunctiverelieftopreservethelegalinterestsoftheparties
         againstfuture infringem entwhich m ay have marketeffectsneverfully com pensable in m oney.1d.

         at1457.

                   In thism atter,Defendantshaveblatantly copied Plaintiffswork and have atotaldisregard

         for Plaintiff's rightto exclude them âom using his 134 Patent causing irreparable hnrm to his

         effortstoadvertise,market,offerforsaleandsellhiswork.HuangDecl.at!8(ECFNo.8).Every
         tim e Defendants offerto selland/orsellaproductusing Plaintifps 134 Patentthere isa directloss

         forwhich m onetary dam ages cannotadequately com pensateforbecause they failto addressthe

         lossofcontroloverPlaintiff'sintellecmalpropertyandgoodwill.HuangDecl.at!!I16-20(ECF
         No.8).Lossof quality control over goods sold utilizing Plaintiff's 134 Patentisneither
         calculable nor precisely com pensable because by D efendants flooding the e-com m erce

         m arketplace w ith unauthorized reproductions and derivatives of the 134 Patent, it is highly

         probable that Plaintiff w ill continue to suffer irreparable hnrm unless D efendants' infringing

         activity isstopped.Id.

                   'çgléossinmarketshare''canitselfconstitm eirreparableharm.RobertBoschLLCv.Pylon

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Case 1:23-cv-22812-KMW Document 11 Entered on FLSD Docket 08/24/2023 Page 11 of 19



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     Mfg Co.,659F.3d 1142,1151(Fed.Cir.2001).A!
         .                                    1 coul'tttcommitgs)aclearerrorofjudgment''
     when itfailsto find irreparableharm in the faceofStevidenceof...theparties'directcom petition''

     and tçlossin marketshareand accessto potentialcustomersresulting from Ethe defendant'sj
     introduction ofinfringing''products.1d.,
                                            .see also Novartis ConsumerH ealth,Inc.v.Johnson tâ

     Johnson-Merck ConsumerPharln.Co.,290 F.3d 578,596 (3d.Cir.2002)(ttln acompetitive
     industry w here consum ersarebrand-loyal,webelievethatlossofm arketshareisapotentialharm

     which cannotbe redressed by a legaloran equitable remedy following a trial.'') (internal
     quotationmarksandcitationsomitted).
             D.     The Balance ofH ardship TipsSharply in PlaintifrsFavor

             Forthethirdfactorin determiningwhetherto issueapreliminary injunction,theCourt
     mustbalancetheharm tothemovantfrom thedenialofthepreliminaryinjunctionwiththehnrm
     thatthenon-movantwillincuriftheinjunction isgranted.Hybritech,849 F.2d at1457.The
     balanceofthehardshipsinthiscasefavorsPlaintiff.A patentholderwhoisdeniedaninjunction
     suffers serious delay in the exercise of the lim ited-in-tim e rightto exclude,w hich constittztes a

     severehardship.SeeIllinois ToolJrzbrkç,fnc.v.Gri
                                                    p-pak,Inc.,906F.2d 679,683 (Fed.Cir.
     1990).Thishnrm isamplifiedbythefactthatDefendantsareinfringingadesignpatent,wherethe
     term ofthe patentis only 15 years.See 35 U.S.C.j 173.Plaintiffsuffers a commercial
     disadvantage and harm to its product perception and reputation.Conversely, a prelim inary

     injunctionwillonlyminimallyharm Defendantsandwillnotpreventthem from sellingtheirnon-
     infringing productsor from m arketing non-infringing products.D efendants are also free to sell

     othergoodsthatdo notinfringe the 134 Patent.

             Because Defendants are engaged in infringem ent activities,the only hardship they will

     sufferasaresultofan injunction iscourt-ordered compliancewith intellectualproperty laws.
'




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         AdobeSystems,Inc.v.frcncngen,928F.Supp.(1
                                                p 6,618(E.D.N.C.1996). In othercases,the
                                                            1

         Courtshave ruled thatthe evidence ofirreparable harm to plaintifffaroutweighstheharm thata

         preliminaryinjunctionmaycauseDefendant. CB FleetCo.,Inc.v.UnicoHoldings,Inc,510F.
         Supp.2d1078,1083(S.D.Fla.2007)(holdingacompanycannotbuildabusinessoninfringements
         andthenarguethatenforcingthelaw willclipplethatbusiness)CBS,Inc.v.PrimeTime24Joint
         Venture,9F.Supp.2d 1333(S.D.F1a.1998)).
                Presently,Defendants are prom oting advertising,offering for sale and/or selling goods

         usingPlaintiff's134Patent,throughtheire-commercestores.HuangDecl.at!!10,11(ECFNo.
         8).Based onDefendants'e-commercestores,thereisgoodcauseto suspectDefendantsareal1
         residing and/oroperating outside ofthe United States and/or redistribute products from sources

         outsideoftheUnitesStates.RubioTRO Decl.at!9(ECFNo.9).Duetothee-commercenature,
         D efendants can easily transfer,conceal and dissipate assets or m odify e-com m erce data w ithin

         minutesafterobtainingnoticeofthisactionleavingPlaintiffwithirreparableinjmy andtheCourt
         withlimitedabilitytograntrelief.RubioTRO Decl.at!13(ECFNo.9).
                A llow ing infdngem entduring thependency ofthislaw suiteffectively g'
                                                                                     rantstheinfringer

         a licenseforthe pendency ofthislitigation and encourages othersto infringe as well.Hybritech,

         849F.2dat1456(aftirmingfindingofirreparableharm where,interalia,absentinjunctiontûother
         potential infringers willbe encouraged to infringe').Irreparable harm results when other
         infringementisencouragedbecauseoftheabsenceofaninjtmction.1d.
                   In contrast,the entry of a temporary restraining orderw ould serve to im m ediately stop

         D efendantsfrom benefiting from the wrongfulsale ofgoodsusing Plaintiff'sPatentand preserve

         the statusquo untilsuch tim e as a hearing can be held.See D ellInc.v.Belgium D omains,LLC,

         CaseNo.07-22674 2007W L 6862341(S.D.Fla.Nov.21,2007)(finding expartereliefmore

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    Case 1:23-cv-22812-KMW Document 11 Entered on FLSD Docket 08/24/2023 Page 13 of 19




                                                            !
         compelling where Defendants'scheme t'is in L
                                                    I
                                                     lectronic form and subject to quick,easy,
         untraceabledestnzctionbyDefendants.'')
                Defendants' infringing activity is conducted withùut Plaintiff's express assignment,

         authorization orlicensingofhis134Patent.HuangDecl.at!515,19(ECFNo.8).Consequently,
         D efendantswillsufferno legitim ate hardship in the eventa tem porary restraining orderis issued

         because Defendantshaveno rightto engagein theirpresentinfringem entactivities.

                E.     TheR eliefSoughtServesthePublicInterest

                Thepublicinterestclearly favorsm aintainingtheintegrity oftheintellectualpropertylaw s.

         Belushi,598F.Supp.at37.,
                                .seealsoC.B.FleetCo.510F.Supp.at1084(S.D.Fla.2007)(The
         publicinterestcan only beserved by upholding intellecm alproperty protection andpreventing the

         misappropriationofprotectedworlcs.)
                çtlpjublicpolicyfavorsprotectionoftherightssecuredbyvalidpatents.''SmithInt'l,Inc.
         v.HughesToolCo.,718F.2d 1573,158l(Fed.Cir.1983).&çgpqrotection ofpatentsfurthersa
         strongpublicpolicy (thatisqadvancedbygrantingpreliminaryinjunctivereliefwhenitappears
         that,absentsuch relief,patentrightsw illbe flagrantly violated.''H .H .Robertson,Co.v.United

         SteelDeck,Inc,820 F.2d 384,391 (Fed.Cir.1987) (internalquotation marks and citation
         omitted).Indeed,tlgwjithouttherighttoobtain aninjunction,therightto excludegrantedtothe
         patenteew ould have only a fraction ofthe value itw asintended to have,and w ould no longerbe

         asgreatan incentive to engage in the toils of ...research-''Sm ith Int'l,Inc.,718 F.2d at1578.

                ProtectingPlaintiffs134 Paientisconsistentwithpromotingthepublicinterest.Salinger,
         607 F.3d at 82,
                       .see also CBS Broad.,lnc.v.Echostar Com m 'ns.Corp.,265 F.3d 1193,1198
'
         (11thCir.2001).Similarlyinthismatter,thepublicneedstobeprotectedfrom beingdegauded
i
         and buying D efendants'infringing goods.


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      Iv.
                                         CIsAPPROPRIATE
              THE EQUITABLE RELIEF SOUGHT!
                                                         I

              A.     Ex parte Tem porary R estraining O rderisA ppropriate

             A courtm ay only issue a tem porary restraining orderw ithoutnotice to the adverse party

     orits attorney if:(a)specific facts in an affidavitora verified complaintclearly show that
     immediatemldirreparableinjury,loss,ordamagewillresulttothemovantbeforetheadverseparty
     canbeheardinopposition and (b)themovant'sattonzey certifiesinwritinganyeffortsmadeto
     givenoticeandthe reasonswhy itshouldnotberequired.Fed.R.Civ.P.65 (b)(1).Exparte
     tem porary restraining orders ççshould be restricted to serving their underlying ptupose of

     preservingthestamsquo andpreventingirreparableharm justsolong asisnecessarytoholda
     hearing,andnolonger.''Granny GooseFoods,Inc.v.Brh.of Teamsters(#nAuto TruckDrivers
     Loc.No.70 ofAlameda Cn@.,415U.S.423,439 (1974).A delay in seeking thepreliminary
     injunctionmilitatesagainstatinding ofirreparableharm.Wreal,LLC v.Amazon.com,Inc.,840
     F.3d1244,1248(11thCir.2016).
             D efendants,through theire-com m ercestores,prom ote,advertise,offerforsaleand/orsell

     productsthatinfringeonPlaintiffs134Patent.SeeHuangDecl.at!10(ECFNo.8).Theentryof
     atem porary restraining orderw ould serve to im m ediately stop Defendants 9om benefiting from

     their tm autholized use of Plaintiff's 134 Patentand preserve the stattzs quo untilsuch tim e as a

     hearing can be held.D ellfnc.v.Belgium D omains,LLC,Case N o.07-22674,2007 W L 6862341

     (S.D.Fla.Nov.21,2007)(findingexpartereliefmorecompellingwhereDefendants'schemeççis
     inelectronicfonn andsubjecttoquick,easy,untraceabledestructionbyDefendants.'').
            (Absentatem poraryreskaining order,w ithoutnotice,Defendantscan alldw illsignificantly

     alterthe statusquo before theCoul'
                                      tcan determ inetheparties'respectiverights.Rubio TRO Decl.

     at!13(ECFNo.9).Signiticantly,becauseDefendantshavecompletecontroloftheire-commerce


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    stores,atissue and ifnotice ofthisaction isgiven Defendants can easily m odify the ow nership of

    the e-com m erce store, data, content, paym ent accounts, redirect consum ers to other seller

    identification nam es,and transferassetsto otherselleridentifcation num bers.N o noticehasbeen

    providedtoDefendant.RubioTRO Decl.at!!12-14(ECFNo.9).
            Asaresult,thisCourtshouldpreventan injusticefrom occtmingbyissuing an exparte
     tem porary restraining orderw hich precludes Defendants from displaying their infringing goods

     via their e-com m erce stores and w ebsites or m odifying or deleting any related content or data.

     Only such an orderw illpreventongoing irreparableharm to Plaintiffand m aintain the stat'usquo.

             B.      Entry of an Order Prohibiting Transfer of the Seller ID s D uring the
                     PendencyofThisActionIsAphropriate

            Plaintiffseeksan ordertemporadly prohibitingD efendantsfrom transferring useorcontrol

     oftheSellerlD sbeing used and controlled by Defendants to otherpartiesin orderto preservethe

     status quo.Once they becom eaw areefthis lawsuit,Defendants can easily,and often w ill,change

     the ownership or m odify their e-comm erce store account, data and content,change paym ent

     accounts,redirect consum ertraffic to other seller identification nam es,and transfer assets and

     ownership of the Seller 1D s,and thereby fnzstrate the Court's ability to grantm eaningfulrelief.

     SeeRubioTRO Decl.at!! 12-13 (ECF No.9).Asaresult,Plaintiffseeksatemporaryorder
     prohibiting Defendants from t'
                                  ransferling their e-com m erce stores and dom ain nam es operating

     underthe Sellerl'
                     Dsposesno bttrden on them ,preservesthestat'usquo,and enstlresthatthisCourt,

     aher fully hearing the m erits ofthis action,willbe able to afford Plaintiff m eaningfulreliefin

     accordance with the PatentAct.

                     A n Ex Parte O rder Restraining Transfer ofAssetsIsAppropriate

             ln furtherance ofan ordertem porarily restraining Defendants'offer forsale and/or sale of
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                                                         !.
     Plahltifrs 134 Patent,Plaintiffrequeststhis Courtalso enter an Order limitlg the transfer of
     Defendants'unlaw fully gained assets.Plaintiffhasdem onstrated abovethatitwilllikely succeed

     on the m erits ofits claim s. Therefore and in accordance w ith the Patent Act,Plaintiff willbe

     entitled to thepaym entofreasonableroyaltiesand lostprofitsto Defendantstllroughoutthecolzrse

     oftheiringingingscheme.35U.S.C.j284.
            Defendants, through their e-com m erce stores, have deliberately infringed on the

     protections afforded to Plaintiffby federalpatentlaws. Plaintiffrespectfully requests this Court

     grantadditionalex parte relief identifying paym ent accounts and restraining the kansfer of al1

     m onies held or received by tinancial instit
                                                m ions for the benefit of any one or m ore of the

     Defendants,and any otherfinancialaccountstied thereto.SEC v.ETS Payphones,408 F.3d 727,

     734 (11th Cir.2005)(finding itpropertoenjoin al1ofthedefendant'sassets,because itwas
     necessarytopreservesufficientfundsforthepotentialdisgorgementinthecase).
            M any circuitcourts,including the Eleventh Circuit,have upheld the court's authority to

     restrainassets.LeviStrauss (î Co.51f.3c1at987-988(upholdingthe assetfreezein thecase
     becauseitallowedappellantstopetitionthedistrictcourttomodifythefreeze).lnLeviStrauss,
     the Eleventh Circuitupheld an order granting an assetrestraint againstan alleged comzterfeiter

     wherethecomplaintincluded arequestforapermanentinjunction and theequitableremedy of
     disgorgem entofthe alleged counterfeiter'sproftsunderftf at987.This Courthasheld thatitm ay

     issuebroadassetrestraintstopreservetheavailabilityofpermanentrelieflincluding assetsthatare
     not directly traceable to the fraudulent activity that serves as a basis for the equitable relief

     requeàted.S.E.C.v.Lauer,445F.Supp.2d 1362,1364 (S.D.Fla.2006)(upholdingtemporary
     fzeezeofa11ofdefendant'sassetsinordertomaintainthestatusquo).
            ln thiscase,D efendants'blatantviolationsoffederalpatentlaw swarrantan exparte order


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                                                       :
    restraining the transfer of their ill-gotten assetst M oreover, as D efendants' businesses are

    conducted anonymously overtheInternet,Plaintiffhasanadditionalcauseforexpartereliet as
    D efendantsm ay easily transfertheirassetsw ithoutthe Court'sorPlaintiff'su ow ledge.

             A BondShouldSecuretheInjunction
            No restraining order orpreliminary injunction shallissue exceptupon the giving of
    seculity by the applicant,in such sum as the courtdeem s proper,for the paym entofsuch costs

     ahddam agesasmaybeincurredorsuffered by anyparty who isfoundtohavebeen wrongR lly

     enjoinedorrestrained.Fed.R.Civ.P.65(c).Theamountofthebondislefttothediscretionof
     thecourt.CarllonImporters,Ltd.v.FrankpesceInt1Grp.Ltd.,112F.3d 1125,1127(11thCir.
     1997).InlightofPlaintiffsevidenceofinfringement,Plaintiffrespectfully requeststhisCourt
     requireittopostabondofnomorethanTenThousandDollars($10,000.00).
      W .    CO N CLU SION

            Plaintiffisenduring continuousdam agesto its 134 Patentatthe handsoftheD efendants

     in thism atter,w ho unlawfully reproduce goodsusing Plaintiff's 134 Patentto sellforsubstantial

     profits. Defendants are dam aging the goodw ill associated with Plaintiff s 134 Patent and

     harm ing,tlicking and confusing the public. As aresult,Plaintiffrespectfully seeksthe granting,

     tm der seal,ofthisM otion for TRO and enterthe Orderasto D efendants in the form subm itted

     herewith.

     Respectfully subm itted on this22ndday ofA ugust,2023.

                                                 LAW FIRM O F RU BIO & A SSO CIATES,P.A.
                                                 Attorneys forPlaintiffs
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                                                 M iami,F133156
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                                                 Em ail:hrubiorélrubiolee
                                                                        qal.com
                                                  Email:fkubioxrubiolegal.com

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                                      By../s/H umberto Rubio
                                      Hllm berto Rubio,Jr.,Es
                                      Flodda BarN o.36433
                                      Felipe Rubio,Esq.
                                      Florida BarN o.123059




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             CaseNo.1:23-cv-22812-11M W
                                                 ScheduleA

          Def.No. Platfonn           DefendantSeller                          r                   StdreURL
             1    Amazon          '      HIKATAB                           hQn's:
                                                                                //- .amazon.com/sD?ie=UTF8&sell
                                                                                                              er=A24U9BEKG8U 1R
             2    Arnazon shanghaihoukaican inguanliyouxiangongsi          hQns://- .amazon.com/sD?ie=UTF8&seIIe>A1IAM6DITJXCTQ
    .        3    Amazon                  Leingee                           httns://- .amazon.com/sn?ie=UTFB&sùlle>A5T57Z1W65LlL
            4      Amazon                  Mosiku                         hqn's://- .amazon.com/sD?ie=UTF8&seIIe>A1AH7A4GPYMZYB
            5      Amazon                HOZOMT                             httns://- .amazo'n.com/sn?ie=UTF8&seIIe>A1Q9DB0XIOAPL
            6      Amazon                HTLAKIKJ                          httns://- .amazon.com/sn?ie=UTF8&seIIe>A1ZK255W N6K11T
            7      Amazon              MONEER Direct                        httns://- .amazon.com/sD?ie=UTF8&seIIe> A35V9P91W 0TI7V '
            8      Amazon                 adrnuker                          httns://- ,amazon.com/sn?ie=UTF8&seIIer=AVPX97K2LN83T
            9      Amazon               GowizDream                        httns://- .amazon.com/sD?ie=UTF8&seIIer=A16W VG555CAPTB
            10     Amazon               Esteem2020                         hdns://- .amazon.com/sn?ie=UTF8&seIIe>A3P8W JC7HE53K0
            11     Amazon                An may-us                         hdns://- .amazon.com/sD?ie=UTF8&seIIer=A3O7I8TE4OW Y0R
            12     Amazon               Know W hite                        h=Ds://- .amazon.com/sD?ie=UTF8&selIer=A3HRVLM7EC860X
            13     Amazon                  Slaunt                         h;ns://- .amazon.com/sD?ie=UTF8&se!le>A1PPG BO486BW H
            14    Amazon                  MUHlQian                       httns://- .ama2on.com/sn?ie=UTF8&seIIe>ADW C5M YDNJX1d=1
            15    Amazon                LamicallDirect                    h;Ds://- .amazon.com/sD?ie=UTF8&seIle>A2D7ZW M1V15W 1N
            16    Amazon                  SZTY US                            h:Ds://- .amazon.com/sn?ie=UTF8&seIler=A21G6JLI8B9I14
            17    Amazon                   Ferry-us                        h:Ds://- .amazon.com/sn?ie=UTFB&selle>A2ZQ8TVJ2OHEZO
            18    Amazon               XINGHUAFENG                         httDs://- .amazon.com/sD?ie=UTF8&seIIe>M HS9S3GEKH25N
            19    Amazon                 Hikig Online                      hQns://- .amazon.com/sn?ie=UTF8&selIe>A37LRW LLN3DYEO
            20    Amazon                  Top-l-evel                       httDs://- .amazon.com/sn?ie=UTF8&selle>A3O3C92YDCE0NM
            21 Aliexpress               HiMISS Global                                  hQns://- .aIiexpress.com/store/1101959583
            22 Aliexpress                 AUTOFLY                                      hqns://- .aliexpress.com/store/llol338l36
            23 Aliexpress               MD-Auto Parts                                  hiDs://- .aliexoress.com/store/llol7oB373
            24 Aliex ress                 SUIYUAN                                      httns://- .aliexnress.com/store/llolz7sool
            25 Aliexpress                  Ispretty                                    httns://- .aliexnress.com/store/llol784z8g
            26 Aliexpress           Motorcycle&carpalts                                hQns://- .aIiexnress.com/store/1101886765
            27 Aliex ress                 Elec Daily                                   hiDs://- .aliexDress.com/store/llol7l3638
            28 Aliexpress       Cars Accessories Dropshipping                          httns://- .aliexpress.com/store/llozl7636o
            29 Aliexpress         New EnergyAuto MustBuy                               httDs://- .aliexpress.com/store/lloz47ozll
            30 Aliexpress           KamikazeAutoParts                                  httDsl//- .aliexnress.com/store/llolg843oz
            31 Aliexpress                Trusting car                                  httns://- .aliexpress.com/store/llol4o4M ;
            32 ' Aliexpress        Shenzhen Drop Shipping                              hqDs://- .aliexoress.com/store/llol747l83
            33 Aliexpress                 Digitalcarr                                  h:Ds://- .aIiexDress.com/store/1101495985
            34 Aliexpress              Oversea Phone                                   hqDs://- .aliexnress.com/store/llolzg7zl8          .
            35 Aiex ress                  CarMotor                                     httos://- .aliexpress.coe store/llolz66gog
            36 Aliexpress               Goldandround                                   httos://- -aliexoress.com/store/llol6477ll
'           37 Aiexpress               5h0p911599442                                   httDs!//- .aIiexnress.com/store/1101657857
            38 Aiex ress                  Carcenter                                    httos://- -aliexpress.com/store/llol4o347g
            39 Aliexpress            DATA FROG Global                                  h/ns://- .aliexpress.com/store/lloo8M s3o
            40 Aliexpress            HKYC UniversalCar                                 httns://- .aliexnress.com/store/1102195642
            41 Aliexpress                Goodluck3c                                    hins://- -aliexnress.com/store/llol3l4os6
            42 Aliexpress              Room Boundary                                   hqps://- .aliexnress.com/store/llolzgg3l8
            43 Aliexpress                   Sin30-                                     h:Ds://- .aliexnress.com/store/llolz3sszl
            44 Aiexpress               HiMISS Factory                                  httns://- .aliexnress.com/store/llozl4osM
            45 Aliexpress             Future intelligence                              httDsr//- .aliexnress.com/store/llol76843l
            46 Aliexpress             HiMISS Auto Parts                                httDs://- .aliexnress.com/store/1102136594
            47 Aiexpress               The LittleW orld '                              httns://- -aliexnress.com/store/llol77zzo8
            48 Aliexpress                DATA FROG                                     httos://- .aliexnress-com/store/llolz3zoog
            49 Aliexpress           DATA FROG Facto                                    hdDs://- .aliexnress.com/store/1101274497
            50 Aliexpress                 Rocomoco                                     httos://- .aliexnress-com/store/llolz8o4zz
            51 Aliexpress               MAGlcElectro                                   h/ps://- .aliexpress-com/store/llol74gl3z
            52 . Aliexpress          Motoroycle CarParts                               hqos://- .aliexnress.com/store/llols8o6g6
            53    W almart                 Jisieike                                      httos://- .walmad.com/seller/lolzg4o4o
            54    W almart                YUEWAY                                         hQDs://- .waImad.com/seIIer/101196391
            55      Temu                    heurion              httDs://- .temu.co* heurion-m4 8886351248.htmI?ooods 1d=601099512278611
            56      Temu                  DoubleTop           httns://- .temu.com/doubIe-ton-m-2468569207519.htmI?qoods 1d=601099518003932
            57      Temu                    V Play               httos!//- .temu.com/v-nIav-m-5313615616509.htmI?noods 1d=601099518252269
            58      shein   CHEGESAUTOSUPPLIES AUTOMOTIVE                       httDs://usashein.com/store/home?store (201.e:r3287461029
            59      shein          AIYUNG AUTOMOTIVE                            https://us.shein.com/store/home?store (:0:1e:::5484610892
            60'     shein                 ASDETTU                               https://us.shein.com/store/home?store code=1888072114
            61      shein          GALAXYTHENIGHTSKY                            hops://us,shein.com/store/home?store (:0(1e:::1941519296
            62      shein           '      MI-GIRL                              https://us.shein.com/store/home?store (:0(.e2z5703323030
            63      shein                 CINGOGO                               hqDs://us.shein.com/storelome?store ()0(1e:22826046679




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